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                   THIRD DECLARATION OF COLLEEN ROBBINS
                            Pursuant to 28 U.S.C. § 1746
 I, Colleen Robbins, have personal knowledge of the facts and matters set forth below. If called as

 a witness, I could and would testify as follows:

        I am one of the attorneys representing the Federal Trade Commission (“FTC”) in an

        enforcement action against TheFBAMachine Inc.; Passive Scaling Inc.; Sales Support New

        Jersey Inc.; 1HR Deliveries Inc.; Hourly Relief Inc.; 3PL Logistic Automation Inc.; FBA

        Support NJ Corp.; Daily Distro LLC; Closter Green Corp., doing business as Wraith &

        Co.;     Bratislav Rozenfeld, also known as Steven Rozenfeld and Steven Rozen

        (collectively, “Defendants”). My business address is 600 Pennsylvania Avenue, NW,

        Mailstop CC-8528, Washington, DC 20580.

        I am over twenty-one years old and am a citizen of the United States. I am a member in

        good standing of the New Jersey Bar (Bar No. 2882710) and the New York Bar (Bar No.

        027091997).

        As part of my work on this matter, my colleague Frances Kern and I corresponded with

        defense counsel in this matter regarding potential violations of the asset freeze provision

        of the Temporary Restraining Order (Docket No. 5) and Preliminary Injunction (Docket

        No. 54). Attached as Attachment A is a true and correct copy of this correspondence.


        I declare under penalty of perjury that the foregoing is true and correct.




  Executed on: January 23, 2025
  Washington, D.C.                                                Colleen Robbins




                                                    1

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  From:            Kern, Frances
  To:              musheresq@gmail.com; alexanderesq35@gmail.com
  Cc:              Robbins, Colleen B.
  Subject:         Correspondence re FTC v. TheFBAMachine
  Date:            Friday, January 3, 2025 1:48:04 PM
  Attachments:     25.1.3 Letter from FTC re FTC v. TheFBAMachine.pdf


  Gentlemen,

  Please see the attached letter.

  Thank you.

  Sincerely,
  Fran Kern

  Frances L. Kern (she/her) | Attorney | Federal Trade Commission
  Bureau of Consumer Protection | Division of Marketing Practices
  BCP/DMP | CC-8543
  Org 1144 | Mail Stop CC-6316
  600 Pennsylvania Avenue, NW | Washington, DC 20580
  (202) 326-2391 | fkern@ftc.gov




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                                                  UNITED STATES OF AMERICA
                                           FEDERAL TRADE COMMISSION
                                                   WASHINGTON, DC 20580
                                                                                               Frances L. Kern
                                                                                              (202) 326-2391
  Bureau of Consumer Protection                                                             (202) 326-3395 (fax)
  Division of Marketing Practices                                                               fkern@ftc.gov

                                                       January 3, 2024

 VIA ELECTRONIC MAIL

 Mikhail Usher, Esq.
 Alexander Susi, Esq.
 Usher Law Group
 musheresq@gmail.com
 alexanderesq35@gmail.com

 Re:       Federal Trade Commission v. TheFBAMachine Inc. et al.,
           No. 2:24-cv-6635 (JXN) (LDW) (D.N.J.)

 Dear Messrs. Usher and Susi:
         As you know, the Federal Trade Commission previously served a subpoena on Wells Fargo
 Bank, N.A. (Wells Fargo) requesting documents pertaining to an automobile loan and accounts
 held there by Bratislav Rozenfeld. As you also know, your clients assets have been frozen since
 June 2024 under the Courts temporary restraining order (ECF Nos. 5, 22) and the stipulated pre-
 liminary injunction (ECF No. 53) your client agreed to in August. Wells Fargo recently produced
 documents responsive to the subpoena, and they show eighteen separate payments totaling
 $24,582.42 from unidentified sources or accounts that were all made since the Court issued the
 asset freeze, as shown in the chart below:
 Account Name                       Account          Date       Payment Amount     Bank Reference
                                    Number
 Bratislav Rozenfeld                x8834            7/29/24    $3,000             Online ACH Payment
 Bratislav Rozenfeld                x8834            8/5/24     $1500              Online ACH Payment
 Bratislav Rozenfeld                x8834            8/14/24    $1500              Online ACH Payment
 Bratislav Rozenfeld                x8834            8/20/24    $650               Online ACH Payment
 Bratislav Rozenfeld                x8834            8/22/24    $1000              Online ACH Payment
 Bratislav Rozenfeld                x8834            9/3/24     $400               Online ACH Payment
 Bratislav Rozenfeld                x8834            10/24/24   $321               Online ACH Payment
 Bratislav Rozenfeld                x2682            7/17/24    $208               Online ACH Payment
 Bratislav Rozenfeld                x2682            7/29/24    $1500              Online ACH Payment
 Bratislav Rozenfeld                x2682            8/7/24     $1000              Online ACH Payment
 Bratislav Rozenfeld                x2682            8/8/24     $2483.47           Online ACH Payment
 Bratislav Rozenfeld                x2682            8/15/24    $1200              Online ACH Payment
 Bratislav Rozenfeld                x2682            8/16/24    $750               Online ACH Payment
 Bratislav Rozenfeld                x2682            8/31/24    $400               Phone Payment
 Bratislav Rozenfeld                x2682            9/12/24    $2200              Online ACH Payment
 Bratislav Rozenfeld                Wells Fargo      7/13/24    $2129.95           Online Payment
                                    Car Loan


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 Bratislav Rozenfeld     Wells Fargo     8/15/24     $2140               Online Payment
                         Car Loan
 Bratislav Rozenfeld     Wells Fargo     10/25/24    $2200               Online Payment
                         Car Loan

         Please provide us with the source and initiator of each of these payments, including name
 of the person who initiated each payment, the bank name and account number from which each
 payment came, and the name of every person who holds an interest in each source.
         In addition, account statements from your clients Wells Fargo credit card (account ending
 8834) show a number of payments to All Web Leads, a lead-generation service; Corso, an online
 phone autodialer; YouTube; and Facebook, indicating that your client isor is attempting to
 engage in sales. Please tell us what your client is or has been selling. I remind you that the stipu-
 lated PI prohibits your client from misrepresenting or assisting others in misrepresenting to con-
 sumers any material fact concerning any good or service. (ECF No. 53, § 1.F)
          Please provide this information to us no later than 5:00 p.m. on Wednesday, January 8.
 Sincerely,




 Frances L. Kern
 Attorney

 cc: Colleen Robbins, Esq. (via email)




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                                                          4894

  From:                  Robbins, Colleen B.
  To:                    musheresq@gmail.com; alexanderesq35@gmail.com
  Cc:                    Kern, Frances; Anthony Sodono; mdudas@msbnj.com; splacona@msbnj.com
  Subject:               Possible Contempt Issues and follow up
  Date:                  Wednesday, January 8, 2025 5:10:00 PM


  Counsel,
  As we mentioned in our letter to you on January 3 and our email yesterday, your client has made
  credit card payments to Wells Fargo and American Express for the past 6 months, post TRO. Your
  client provided us with an updated financial disclosure form on October 25, prior to the second
  contempt hearing. In this form Rozenfeld did not: 1) list any transfers of assets to himself (as defined
  in the form) during the previous 5 years, 2) list any other bank accounts other than Wells Fargo, and
  3) explain how he is self-employed. In fact, he merely states that his income is 3200 per month (and
  maybe makes $56,000 per year, but there is no year listed for that). Given that your client has paid,
  since June 5, 2024, $233,636.57 to these particular credit cards that we know about, he has not
  been truthful on his financial disclosure form. None of this is possible with the information we have.
  In addition, the accounts we know about at Wells Fargo, Capital One, Signature/Flagstar, TD Bank
  and Chase are confirmed to be frozen.

  As stated in both the letter and email, we need to know from your client by COB Monday, January
  13 the information we have requested regarding transfers to the credit card companies.

  We have also learned from the Amex records that Rozenfeld’s mail is sent to a place in Hallandale
  Beach, Florida. He failed to mention this address on his financial disclosure form and, according to
  Zillow, it rents for $10,500 per month. Please also advise who resides at that address and where the
  money is coming from to pay the rent.

  We will be updating the court as to your client’s conduct and any information you provide.

  Thank you,
  Colleen

  Colleen Robbins
  Chief of Online Threat Initiatives
  Federal Trade Commission
  Bureau of Consumer Protection I Division of Marketing Practices
  600 Pennsylvania Ave, NW
  Washington, DC 20580
  202-326-2548




 PX 42                                                   Attachment A                                  003550
